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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                  Case No. 15-CR-20609-12
                    Plaintiff,

v.


D-1 ROGER MAX AUSTIN, et.al.,

                Defendants.
___________________________/

                    ORDER SEVERING DEFENDANT FOR TRIAL
                       AND FINDING EXCLUDABLE DELAY

      Before the court is the Government’s Motion to Sever Defendant Richard Barnes

from the first trial scheduled for October 10, 2017. (Dkt. # 282.) Having considered the

Defendant’s response (Dkt. # 294), and for the reasons set forth in the Government’s

Motion and during the September 18, 2017 hearing on the Motion, the court hereby

severs Defendant Barnes from the first trial group and places him in the second trial

group, currently scheduled for January 8, 2018.

      The Government further requests an Order for Excludable Delay. In support of its

request, the Government notes that the investigation pertaining to this case began in

2011 and now involves 19 defendants, multiple law enforcement agencies, evidence

from multiple geographic locations, and over 40 witnesses. (Dkt. # 282, Pg. ID 1525.)

Based upon consideration of the number of Defendants and charges, and relatedly, the

nature and quantity of the Government’s evidence, the court concludes that this case is

so complex that it is unreasonable to expect adequate preparation for pretrial
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proceedings and trial within the time limits established by the Speedy Trial Act. Under

these circumstances, the need for an excludable delay outweighs the public's and the

Defendant's interest in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A); see also United

States v. Stone, 461 F. App'x 461, 465 (6th Cir. 2012) (holding that the district court did

not abuse its discretion in excluding 10-months from the Speedy Trial Act period when

“the nature of the evidence against [defendants was] complex, far-reaching, and

immense”). Accordingly,

           IT IS ORDERED, pursuant to 18 U.S.C. § 3161(h)(7)(B)(ii), the time between

October 5, 2017 and January 8, 2018, shall be excludable in computing the time within

which the above-captioned case must commence, and the Government’s motion (Dkt. #

282), is hereby GRANTED.



                                                                                 S/Robert H. Cleland_____________
                                                                                 ROBERT H. CLELAND
                                                                                 UNITED STATES DISTRICT JUDGE

Dated: September 20, 2017


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 20, 2017, by electronic and/or ordinary mail.

                                                                                  S/Lisa Wagner ______________
                                                                                 Case Manager and Deputy Clerk
                                                                                 (810) 292-6522




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